              Case 23-03150 Document 5 Filed in TXSB on 10/02/23 Page 1 of 10




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                      )
    In re:                                                            )    Chapter 11
                                                                      )
    SURGALIGN HOLDINGS, INC., et al.,1                                )    Case No. 23-90731 (CML)
                                                                      )
                              Debtors.                                )
                                                                      )
                                                                      )
    RYAN MESSNER,                                                     )
                                                                      )
                              Plaintiff,                              )
                                                                      )
    v.                                                                )    Adv. Proc. No. 23-03150
                                                                      )
    SURGALIGN HOLDINGS, INC.,                                         )
                                                                      )
                              Defendant.                              )
                                                                      )

                                  RULE 12(b)(6) MOTION TO DISMISS

             If you object to the relief requested, you must respond in writing. Unless otherwise
             directed by the Court, you must file your response electronically at
             https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion was
             filed. If you do not have electronic filing privileges, you must file a written objection
             that is actually received by the clerk within twenty-one days from the date this motion
             was filed. Otherwise, the Court may treat the pleading as unopposed and grant the
             relief requested.

             Comes now Surgalign Holdings, Inc. (“Surgalign”) and files this Rule 12(b)(6) Motion to

Dismiss (the “Motion”). In support of the Motion, Surgalign represents the following:




1
         The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
number (if any), are: Surgalign Holdings, Inc. (0607); Surgalign Spine Technologies, Inc. (6543); Pioneer Surgical
Technology NewCo Inc.; Spinal Transition and Professional Services LLC; Andi’s Belmarall, LLC; Fourth
Dimension Spine, LLC (1107); Holo Surgical Inc. (4079); and HoloSurgical Technology Inc. (0952). The location of
the debtors’ service address in these chapter 11 cases is: 520 Lake Cook Road, Suite 315, Deerfield, Illinois 60015.
                                                            1

37186418V.6
          Case 23-03150 Document 5 Filed in TXSB on 10/02/23 Page 2 of 10




                                       I. INTRODUCTION

        1.     The Plaintiff fails to state a claim upon which relief can be granted. The Plaintiff

asserts claims under section 523(a)(2) of the Bankruptcy Code and 15 U.S.C. §§ 78b, 78ff, but the

claims fail for three reasons. First, section 523 dischargeability actions do not apply to corporate

debtors. Second, the Plaintiff’s securities fraud claim requires dismissal because it fails to plead

with particularity. Third, the alleged claims are section 510(b) claims which were cancelled,

released, and extinguished under the confirmed Plan.

                                  II. STATEMENT OF FACTS

        2.     On June 19, 2023 (the “Petition Date”), each Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code with the Court. The Wind-Down Debtors continue

to operate their businesses and manage their properties as debtors in possession under sections

1107(a) and 1108 of the Bankruptcy Code. The chapter 11 cases are jointly administered under

Bankruptcy Rule 1015(b).

        3.     On August 11, 2023, the Plaintiff filed a Complaint [Adv. Docket No. 1] (the

“Complaint”) and initiated this adversary proceeding. The Plaintiff alleges that the Wind-Down

Debtors injured the Plaintiff by failing to “disclose information” and “misrepresenting pertinent

information investors use to make decisions.” See Complaint, Preamble. The Plaintiff further

asserts claims for “false pretenses, false representation, [and] actual fraud.” (together, the “Fraud

Claims”). See id. The Plaintiff seeks “recovery of money” and a finding of nondischargeability

under section 523. See Complaint, pg. 2.




                                                 2

37186418V.6
          Case 23-03150 Document 5 Filed in TXSB on 10/02/23 Page 3 of 10




                                  III. STANDARD OF REVIEW

A.      The Plaintiff must plead “enough facts to state a claim to relief that is plausible on its
        face.”

        4.       To survive a Rule 12(b)(6) motion, the Plaintiff must plead “enough facts to state a

claim to relief that is plausible on its face.” In re Katrina Canal Breaches Litigation, 495 F.3d 191,

205 (5th Cir. 2007) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007)). A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged. Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). A plaintiff’s obligation to provide the grounds of his entitlement to relief

“requires more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Twombly, 550 U.S. at 545. Although material allegations in the complaint

must be accepted as true and construed in the light most favorable to the nonmoving party, a court

is not required to accept conclusory legal allegations cast in the form of factual allegations. Plotkin

v. IP Axess Inc., 407 F.3d 690, 696 (5th Cir. 2005). “After “ignor[ing] the complaint’s legal

conclusions” and “speculative inference[s],” only then should the Court draw “reasonable

inferences” in the Trustee’s favor. Ghedi v. Mayorkas, 16 F.4th 456, 463 (5th Cir. 2021). From

there the Court can undertake the “context specific task that requires … draw[ing] on [its] judicial

experience and common sense” to determine whether any of the complaint’s claims are facially

plausible. Id.

B.      The Plaintiff’s allegations must meet both Rule 9(b)’s and the PSLRA’s heightened
        pleading requirements for fraud claims.

        5.       On top of the plausibility pleading described above, the Plaintiff’s fraud claim must

meet Rule 9(b)’s heightened particularity-pleading standard. Southland Sec. Corp. v. INSpire Ins.

Solutions, Inc., 365 F.3d 353, 361 (5th Cir. 2004). In cases alleging fraud, a plaintiff must satisfy

the heightened pleading requirements of Rule 9(b) by stating “the who, what, when, where, and
                                              3

37186418V.6
          Case 23-03150 Document 5 Filed in TXSB on 10/02/23 Page 4 of 10




why as to the fraudulent conduct.” In re Life Partners Holdings, Inc., 926 F.3d 103, 117 (5th Cir.

2019) (citing Fed. R. Civ. P. 9(b)).

        6.      Because the Plaintiff asserts securities fraud claims, he must satisfy the heightened

pleading requirements of the Private Securities Litigation Reform Act (the “PSLRA”).

See Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 239 (5th Cir. 2009). The PSLRA “enhances the

requirements of Rule 9(b)” by requiring a plaintiff to: (1) “specify each statement alleged to have

been misleading [and] the reason or reasons why the statement is misleading”; and (2) “state with

particularity facts giving rise to a strong inference that the defendant acted with the required state

of mind” for each act or omission. In re BP p.l.c. Sec. Litig., 843 F. Supp. 2d 712 (S.D. Tex. 2012)

(citing 15 U.S.C. §§ 78u-4(b)(1-2)).

        7.      Putting the two standards together, the plaintiff must: (1) specify each statement

alleged to have been misleading; (2) identify the speaker; (3) state when and where the statement

was made; (4) plead with particularity the contents of the false representation; (5) plead with

particularity what the person making the misrepresentation obtained thereby; and (6) explain the

reason or reasons why the statement is misleading, i.e., why the statement is fraudulent.

ABC Arbitrage Plaintiffs Group v. Tchuruk, 291 F.3d 336, 350 (5th Cir. 2002).

        8.      A defendant corporation is deemed to have the requisite scienter for fraud only if

the individual corporate officer making the statement has the requisite level of scienter, i.e., knows

that the statement is false, or is at least deliberately reckless as to its falsity, at the time he or she

makes the statement. Southland Sec. Corp. v. INSpire Ins. Sols., Inc., 365 F.3d 353, 366 (5th Cir.

2004). The Fifth Circuit has rejected the “group pleading” doctrine (allowing Plaintiff to rely on a

presumption that statements in public filings are a collective work of individuals) under the




                                                    4

37186418V.6
          Case 23-03150 Document 5 Filed in TXSB on 10/02/23 Page 5 of 10




PSLRA and Rule 9(b) standard, requiring Plaintiff to specifically plead and associate the allegedly

fraudulent statement to individual defendants. Id. at 365.

                                         IV. ARGUMENT

A.      Corporate debtors like Surgalign are not subject to the dischargeability provisions of
        section 532(a).

        9.     As a threshold issue, Surgalign is not subject to the dischargeability provisions of

section 523(a), including section 523(a)(2).

        10.    Section 523(a) of the bankruptcy code provides, in relevant part:

        A discharge under section 727, 1141, 1192 [1] 1228(a), 1228(b), or 1328(b) of this
        title does not discharge an individual debtor from any debt…
        ...

11 U.S.C § 523(a) (emphasis added).

        11.    Surgalign is not an individual debtor. The Plaintiff ignores the plain language of

the statute as well as the case law that holds corporate debtors are immune from actions under

section 523, including section 523(a)(2):

        [C]orporate debtors proceeding under Chapter 11 historically have been immune to
        dischargeability actions under § 523(a). It is well-settled law in this circuit that
        the § 523 exceptions to discharge apply only to individuals, not to corporations.

In re GFS Indus., LLC, 647 B.R. 337, 343–44 (Bankr. W.D. Tex. 2022) (citing Garrie v. James L.

Gray, Inc., 912 F.2d 808, 812 (5th Cir. 1990) (“[T]he ‘willful and malicious injury’ exception to

discharge, like all of the exceptions to discharge found in section 523(a), applies only to individual,

not corporate, debtors”)).

        12.    The Plaintiff’s request for a determination of dischargeability must be dismissed as

Surgalign is not an individual subject to actions under section 523, including section 523(a)(2).




                                                  5

37186418V.6
          Case 23-03150 Document 5 Filed in TXSB on 10/02/23 Page 6 of 10




B.      Plaintiff does not plead the “who, what, when, where, and why” required under Rule
        9(b) or the PSLRA, requiring dismissal.

        13.       The Complaint fails to adequately allege that any representation, or lack thereof, by

Surgalign was either: known to be false when made, made recklessly without knowledge of its

truth, or made with Surgalign’s intention to induce reliance by Plaintiff (or anyone else).

        14.       Federal Rule of Civil Procedure 9(b) imposes heightened pleading requirements on

fraud claims, and to adequately plead fraudulent intent under Rule 9(b), a plaintiff “must set forth

specific facts that support an inference of fraud.” Tuchman v. DSC Communications Corp., 14

F.3d 1061, 1068 (5th Cir. 1994). “The courts have uniformly held inadequate a complaint’s

general averment of the defendant’s ‘knowledge’ of material falsity unless the complaint also sets

forth specific facts that makes it reasonable to believe that the defendant knew that the statement

was materially false or misleading.” Greenstone v. Cambex Corp., 975 F.2d 22, 25 (1st Cir. 1992)

(emphasis in original).

        15.       The only allegation of fraudulent intent in the Complaint is the naked assertion that

“CURRENT management failed to disclose information, and misrepresented pertinent details

investors use to make decisions, as with the complaint issued herein.” See Complaint, pg. 2. The

only support offered to bolster the Plaintiff’s claim is a kitchen sink of exhibits that include, among

other things:

                    The Plaintiff’s driver’s license. See Complaint, pg. 3.

                    Email correspondence with Surgalign’s bankruptcy counsel. See id., pgs. 4-39.

                    Alleged proof of ownership of Surgalign stock. See id., pgs. 54-68.

                    Plaintiff’s “Closing Arguments.” See id., pgs. 100-104.

        16.       This does not pass muster. Conclusory allegations fail to support an inference of

fraud: it does not set out facts giving rise to a sufficient motive for Surgalign to commit fraud or

                                                    6

37186418V.6
           Case 23-03150 Document 5 Filed in TXSB on 10/02/23 Page 7 of 10




set out circumstances that would indicate conscious behavior that would circumstantially show an

intent to commit fraud. These factual allegations are required. Tuchman, 14 F.3d at 1068;

Twombly, 550 U.S. at 555. Absent such required allegations, the Fraud Claims fail.

C.      The Plaintiff holds a section 510(b) subordinated securities claim that was cancelled,
        released and extinguished under the Plan.

        17.    At best, the Plaintiff holds what amounts to a section 510(b) subordinated securities

claim (“for alleged damages arising from the purchase or sale of such a security”) which was

cancelled, released, and extinguished under the Plan. See Combined Disclosure Statement and

Joint Chapter 11 Plan of Surgalign Holdings, Inc. and its Affiliated Debtors [Docket No. 410] (the

“Plan”).

        18.    Section 510(b) was enacted to “prevent disappointed shareholders from recovering

their investment loss by using fraud and other securities claims to bootstrap their way to parity

with general unsecured creditors in a bankruptcy proceeding.” In re Caprock Oil Tools, Inc., 585

B.R. 823, 829 (Bankr. S.D. Tex. 2018) (citation omitted). “Section 510(b) was enacted under the

assumption that when making an equity investment, a shareholder assumes the risk that security

fraud may occur regardless of whether it occurs pre or post-issuance.” Id. at 830. Surgalign

denies any and all allegations of securities fraud. But even assuming arguendo that such fraud

existed, the alleged claims are merely section 510(b) claims.

        19.    With regard to such claims, the Plan states in relevant part:

        On the Effective Date, each Holder of a Section 510(b) Claim shall not be entitled
        to any Distribution on account of and such Section 510(b) Claim, which shall be
        cancelled, released, and extinguished and of no further force or effect without
        further action by the Debtors.

See Plan, Art. VII, A, No. 8 (Class 8 treatment).

        20.    The Plan makes clear that the alleged claims were “cancelled, released, and

extinguished” under the confirmed Plan. Accordingly, the Complaint should be dismissed.
                                              7

37186418V.6
          Case 23-03150 Document 5 Filed in TXSB on 10/02/23 Page 8 of 10




                                         V. CONCLUSION

        21.    Surgalign requests that the Court grant the Motion, dismiss the claims asserted

against Surgalign, dismiss this adversary proceeding, and grant Surgalign, Inc. its costs and such

other relief to which it may be justly entitled.




                                                   8

37186418V.6
            Case 23-03150 Document 5 Filed in TXSB on 10/02/23 Page 9 of 10




Houston, Texas
October 2, 2023

/s/ Veronica A. Polnick
JACKSON WALKER LLP                               WHITE & CASE LLP
Veronica A. Polnick (TX Bar No. 24079148)        Gregory F. Pesce (admitted pro hac vice)
J. Machir Stull (TX Bar No. 24070697)            Laura E. Baccash (admitted pro hac vice)
Matthew D. Cavenaugh (TX Bar No. 24062656)       111 South Wacker Drive, Suite 5100
1401 McKinney Street, Suite 1900                 Chicago, Illinois 60606
Houston, Texas 77010                             Telephone:     (312) 881-5400
Telephone:     (713) 752-4200                    Email:         gregory.pesce@whitecase.com
Email:         vpolnick@jw.com                                  laura.baccash@whitecase.com
               mstull@jw.com
               mcavenaugh@jw.com                 Charles R. Koster (TX Bar No. 24128278)
                                                 609 Main Street, Suite 2900
Counsel to the Wind-Down Debtors                 Houston, Texas 77002
                                                 Telephone:    (713) 496-9700
                                                 Email:        charles.koster@whitecase.com

                                                 Barrett Lingle (admitted pro hac vice)
                                                 1221 Avenue of the Americas
                                                 New York, New York 10020
                                                 Telephone:     (212) 819-8200
                                                 Email:         barrett.lingle@whitecase.com

                                                 Counsel to the Wind-Down Debtors




                                             9

  37186418V.6
         Case 23-03150 Document 5 Filed in TXSB on 10/02/23 Page 10 of 10




                               CERTIFICATE OF SERVICE

       I hereby certify that on October 2, 2023, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.


                                                /s/ Veronica A. Polnick
                                                Veronica A. Polnick




                                               10

37186418V.6
